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                                                  August 27, 2019

VIA ECF

Honorable Richard F. Boulware, II
Lloyd D. George Federal Courthouse
333 Las Vegas Blvd. South
Las Vegas, NV 89101

         Re:      Notice of Sealing Requested in August 26, 2019 Hearing in Le v. Zuffa et al.,
                  Case No. 15-cv-01045

Dear Judge Boulware:

        Zuffa, LLC (“Zuffa”) submits this letter in response to the Court’s instruction during the
hearing on August 26, 2019 that the expert reports of Dr. Hal Singer and Dr. Robert Topel would
be unsealed. In the August 26, 2019 hearing, the Court ruled that if certain information is “not
substantive as it relates to my decision of the testimony,” that the Court would “entertain a
request subsequent” to redact certain information. Dkt. 724, Tr. 18:4-15. Zuffa has carefully
reviewed all the testifying expert reports in this case. In these reports, Zuffa has identified four
items for which it requests redactions. This information is included in the Expert Reports of Dr.
Hal Singer (JCCX49) and Dr. Andrew Zimbalist (JCCX47).
        Compelling reasons warrant sealing this material. Furthermore, although the Court has
indicated that “questioning can involve any aspects of the report,” Dkt. 724, Tr. 15:2-3, Dr.
Singer has not testified about this information. This information has little bearing on the disputes
that are the subject of this class certification hearing. The proposed redacted expert report for
Dr. Singer is attached to this letter as Exhibit A.1
        Below, Zuffa identifies the confidential information in the reports, and the rationale for
sealing the information.

     Paragraph/Footnote Containing Material                              Compelling Reason to Seal
                       to Seal
    JCCX49, Expert Report of Hal J. Singer                   These footnotes quote language from a
    (August 31, 2017), ¶¶ 29 n.60, 32 n.69, 33               Deutsche Bank-produced document—DB-
    n.70.                                                    ZUFFA-00007015—that was clawed back
                                                             following production. On November 23,
                                                             2016, Deutsche Bank provided written notice
                                                             to both Plaintiffs and Zuffa informing them
                                                             that this privileged document was
                                                             inadvertently or mistakenly produced.
                                                             Pursuant to the protective order, Deutsche
                                                             Bank requested that the document be


1
 Dr. Zimbalist has not yet testified, and Zuffa plans to file Dr. Zimbalist’s redacted report with the Court after the
Court has heard this testimony.
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 Paragraph/Footnote Containing Material                  Compelling Reason to Seal
                to Seal
                                                destroyed. Zuffa requests all material from
                                                this document be redacted.
JCCX49, Expert Report of Hal J. Singer          This paragraph contains specific reference to
(August 31, 2017), ¶ 217.                       how much an individual fighter was
                                                compensated as part of his first contract with
                                                Zuffa. Zuffa requests that his name be
                                                redacted.
JCCX47, Expert Report of Andrew Zimbalist       The second line of this paragraph provides a
(December 26, 2017), ¶ 134 & n. 257.            specific dollar amount for what Zuffa spent
                                                on venue costs. The footnote also provides
                                                the same dollar amount. Zuffa requests that
                                                the dollar amount be redacted in both the
                                                paragraph and footnote.
JCCX47, Expert Report of Andrew Zimbalist       Table 7 provides dollar amounts for Zuffa’s
(December 26, 2017), Table 7.                   net income and dividend payouts between the
                                                years 2005 and 2014. Zuffa requests that the
                                                dollar amount for net income and dividends
                                                payout be redacted for the year 2014. Zuffa
                                                also requests that the total net income and
                                                dividend payouts be redacted to avoid
                                                disclosing the redacted amounts for 2014.


     Therefore, Zuffa requests that this information be sealed.



                                   Sincerely,

                                   /s/ Stacey K. Grigsby

                                   Stacey K. Grigsby
                                   Attorney for Defendant Zuffa, LLC
